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Harvard Medical School
                                              Curriculum Vitae

Date Prepared:        July 2020

Name:                 Dipak Panigrahy, M.D.

Office Address:       Center for Vascular Biology Research, Beth Israel Deaconess Medical Center,
                      Research North, Room 220, 99 Brookline Avenue, Boston, MA 02215
Home Address:         15 Holly Ridge Drive, Whitman, MA 01810

Work Phone:           617-667-0577 (office); 617-667-8203 (lab)

Work Email:           dpanigra@bidmc.harvard.edu

Work Fax:             617-667-2913

Place of Birth:       Jamshedpur, India
Citizenship:          American

Education

1985-1988      Bachelor of Arts           Medical Science     Boston University, Boston, MA
                                                              (Combined B.A./M.D. Medical Program)
1990-1994      M.D.                                           Boston University School of Medicine,
                                                              Boston, MA
                                                              (Research – Judah Folkman, MD, Advisor,
                                                              Boston Children’s Hospital/Harvard Medical
                                                              School)


Postdoctoral Training

07/1994-       Resident                   Surgery             UMDNJ – Robert Wood Johnson Medical
06/1996                                                       School, New Brunswick, NJ

07/1996-       Research Fellow        Vascular Biology        Boston Children's Hospital, Harvard
2003                                  Program,                Medical School, Boston MA
                                      Department of
                                      Surgery, P.I. Dr.
                                      Judah Folkman
1989-1994      Medical Student (Research)                     Boston Children's Hospital, Harvard
                                                              Medical School, Boston MA.
                                                              Judah Folkman, M.D., Advisor




Faculty Academic Appointments

2003-2013      Instructor                 Surgery             Harvard Medical School, Boston, MA

2013-2014      Instructor                 Pathology           Harvard Medical School, Boston, MA
2014-          Assistant Professor of     Pathology           Harvard Medical School, Boston, MA

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present      Pathology
Appointments at Hospitals/Affiliated Institutions

2011-2013    Associate Scientific      Vascular Biology   Boston Children's Hospital, Boston, MA
             Research Staff            Program



Committee Service
National/International Committees:


Year         Name of Committee       Role                 Institution
2003         Advisory Group          Member               Entremed, Inc., Rockville, Maryland.
2005         Advisory Group          Member               Momenta Pharmaceuticals, Cambridge,
                                                          Massachusetts.
2007         Advisory Group          Member               Pervasis Therapeutics, Cambridge,
                                                          Massachusetts.
2009         Session Organizer       Chair                4th Medical Biotech Forum - Molecular
                                                          Oncology - Dalian, China.
2009         Session Organizer       Co-Chair             4th Medical Biotech Forum – Cancer Gene
                                                          Therapy and Cancer Cells – Dalian, China.
2010         Symposium Organizer     Chair                12th International Winter Eicosanoid
                                                          Conference – Eicosanoids in Cancer –
                                                          Baltimore, Maryland.
2010         Session Organizer       Co-Chair             8th Annual Congress of International Drug
                                                          Discovery, Science, and Technology -
                                                          Advances in Other Existing Validated
                                                          Cancer Drug Targets - Beijing, China.
2010         Session Organizer       Co-Chair             3rd Annual World Congress of Regenerative
                                                          Medicine and Stem Cells - Hematopoietic
                                                          and Cardiovascular Tissue Regeneration -
                                                          Shanghai, China.
2010         Session Organizer       Chair                3 rd Annual World Congress of
                                                          Regenerative Medicine and Stem Cells –
                                                          Young Investigator Forum - Shanghai,
                                                          China.
2011         Fundraising             Chair                12th International Conference on Bioactive
             Committee                                    Lipids in Cancer, Inflammation, and
                                                          Related Diseases, Seattle, Washington.
2011         Session Organizer       Chair                12th International Conference on Bioactive
                                                          Lipids in Cancer, Inflammation, and
                                                          Related Diseases, Seattle, Washington.
2011         Scientific Advisory     Member               12th International Conference on Bioactive
             Committee                                    Lipids in Cancer, Inflammation, and
                                                          Related Diseases, Seattle, Washington.
2012         Session Organizer       Co-Chair             4th International Conference on Drug
                                                          Discovery & Therapy. Academic/Industrial
                                                          Collaborations in Drug Discovery/Drug
                                                          Delivery & Targeting, Dubai, United Arab
                                                          Emirates.
2012         Session Organizer       Chair                14th International Winter Eicosanoid
                                                          Conference. Lipid Mediators and Obesity,
                                                          Baltimore, Maryland.
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2012         Session Organizer        Chair                 5th Annual World Congress of Regenerative
                                                            Medicine and Stem Cells – Young
                                                            Investigator Forum - Guangzhou, China.
2013         International Advisory   Meeting Organizer     Drug Discovery & Therapy World
             Board                                          Congress, Boston, Massachusetts.
2013         Track Chairman           Chair                 Drug Discovery & Therapy World
                                                            Congress. Bioactive Lipids. Boston,
                                                            Massachusetts.
2013         Track Chairman           Chair                 Regenerative Medicine & Stem Cells,
                                                            Biopharmaceutical Summit, Frankfurt,
                                                            Germany.
2013         International Advisory   Meeting Organizer     Biopharmaceutical Summit, Frankfurt,
             Board                                          Germany.
2014         Meeting Organizer        Chair                 15th International Winter Eicosanoid
                                                            Conference. Baltimore, Maryland.
2016         Meeting Organizer        Chair                 16h International Winter Eicosanoid
                                                            Conference. Baltimore, Maryland.
2017         Sponsorship              Member                15th International Conference on Bioactive
             Committee                                      Lipids in Cancer, Inflammation, and
                                                            Related Diseases, Puerto Vallarta, Mexico
2018         Meeting Organizer        Chair                 17h International Winter Eicosanoid
                                                            Conference. Baltimore, Maryland.
2018-        Education Committee      Member                Experimental Biology, American Society of
present                                                     Investigative Pathology, San Diego, CA
2020         Meeting Organizer        Chair                 18th International Winter Eicosanoid
                                                            Conference. Baltimore, Maryland.




Professional Societies
2003-        American Association of Cancer Reserach        Member
             (AACR)
2010-        Dana-Farber/Harvard Cancer Center              Member
2012-        American Society of Investigative              Member
             Pathology (ASIP)

Community Service
2009       Poster Judge                                     The 11th International Winter Eicosanoid
                                                            Conference, Baltimore, MD.
2011          Poster Judge                                  The 13th International Winter Eicosanoid
                                                            Conference, Baltimore, MD.
2012          Poster Judge                                  The 14th International Winter Eicosanoid
                                                            Conference, Baltimore, MD.
2012          Junior Investigator Mentor Training Session   The 14th International Winter Eicosanoid
                                                            Conference, Baltimore, MD.
2013          Poster Judge                                  Soma Weiss Student Research Day,
                                                            Boston, MA.
2014          Poster Judge                                  Soma Weiss Student Research Day,
                                                            Boston, MA.
2014-         Head of Translational Seminar Series          Center for Vascular Biology Research
present

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2014           Junior Investigator Mentor Training Session   The 15th International Winter Eicosanoid
                                                             Conference, Baltimore, MD.
2014-2016      Lecturer-Stonehill College                    Cancer Biology

2015-          Lecturer – Boston College                     Cancer Biology
present
2016           Junior Investigator Mentor Training Session   The 16th International Winter Eicosanoid
                                                             Conference, Baltimore, MD.
2016-          Lecturer- Harvard Medical School (HST         Blood Vessels and Endothelial Cells
present        527)                                          Phenotypes in Health and Diseases

2017-          Lecturer                                      Grant Review and Support Program
present                                                      (GRASP)
2018           Junior Investigator Mentor Training Session   The 17th International Winter Eicosanoid
                                                             Conference, Baltimore, MD.




Grant Review Activities
2006         Children's Brain Tumor Foundation, New          Ad hoc reviewer
             York
2009         National Center for the Replacement,            Ad hoc reviewer
             Refinement and Reduction of Animals in
             Research (NC3Rs), United Kingdom
2017         Target Ovarian Cancer                           Ad hoc reviewer




Editorial Activities
Ad hoc Reviewer
Carcinogenesis
Neoplasia
Cancer Research
BioMed Central
PPAR Research
Toxicologic Pathology
Angiogenesis
Proceeding of the National Academy of Sciences
Clinical Cancer Research
British Journal of Pharmacology
Journal of Biological Chemistry
Journal of Experimental and Clinical Research
Diabetes Metabolic Syndrome and Obesity: Targets and Therapy
PNAS
The Journal of Clinical Investigation
Nature Reviews Cancer

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Other Editorial Roles
2008-present     Associate Editor                          PPAR Research
2008             Guest Editor                              PPAR Research
2010             Guest Editor                              PPAR Research
2011             Guest Editor                              Recent Patents on Inflammation and Allergy
                                                           Drug Discovery
2010-present      Editorial Advisory Board Member          Journal of Cardiology
2011-present      Editorial Advisory Board Member          Journal of Autacoids
2011-present      Editorial Advisory Board Member          Recent Patents on Inflammation and Allergy
                                                           Drug Discovery
2011-2015         Editor-in-Chief                          Current Angiogenesis
2011-2013         Editor-in-Chief                          BIoactive Lipids in Cancer


Honors and Prizes

1985-1994      Accelerated B.A./M.D.             Boston University,          Academic achievement
               Medical Program                   Boston, MA
2003-2007      NIH-Pediatric Loan                NIH
               Repayment Program
2009           NIEHS Travel Award                NIH - 11th International
                                                 Winter Eicosanoid
                                                 Conference
2009           Highest Rated Abstract            11th International Winter
                                                 Eicosanoid Conference
2012           One of the top 2% of              Voted by Faculty of 1000
               publications in biology and
               medicine
2012           Top 2 downloaded articles         Prostaglandins and other
               for 2012 to present               Lipid Mediators
2013           Invited Plenary Lecture           Experimental Biology
2015           Cotran Early-Investigator         American Society of
               Career Award                      Investigative Pathology
               Tucker Collins Memorial
2015                                             Harvard Medical School
               Lectureship
2015           Visiting Professor                Khon Kaen University,
               Young Investigator Award          Thailand
2015           14th International Conference
                                                 Budapest, Hungary
               on Bioactive Lipids in
               Cancer,
               Inflammation, and Related
               Diseases
                                                 Penn State University
2015           A.L. Bortree Lecture

                                                 Arizona State University
2015           Discovery Lecture Series          (Biodesign Institute)

                                                 Khon Kaen University,
2019           Visiting Professor .              Thailand


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Report of Funded and Unfunded Projects
Funding Information
Past

1998-2002    Advanced Training in Surgical Oncology
             NIH T32 CA09535
             Co-Investigator
             The major goal of the study is to train surgical residents in basic laboratory research
             techniques.
1998-2002    Research on Mechanisms of Switching to the Angiogenic Phenotype
             EntreMed Inc
             Co-Investigator
             The major goals are to discover and detect novel angiogenesis inhibitors
             and to carry out the pre-clinical studies in animals that would be necessary to
             translate these drugs through further outside pharmaceutical development and then
             to clinical trials.
2002-2010    PPARs and Evaluation of Anti-Angiogenic Factors
             Dana-Farber Cancer Insitute/Pediatric Brain Tumor Fund
             Co-Investigator
             The goal of this project was to identify pathways that regulate neovascularization in
             tumors and develop preclinical models to test pharmacological inhibitors of these
             pathways.




Completed
Research
Support
             Control of Cancer and Metastasis by Endothelial-derived Epoxyeicosatrienoic Acids
2010-2015    NIH RO1 CA148633/National Cancer Institute
             Principal Investigator
             The goal of this project is to elucidate the mechanisms by which EETs stimulate tumor
             growth. Aim 1 will determine whether endogenous tumor-promoting EETs are derived
             from the endothelium, tumor cells or macrophages in the stroma. The drastic increase of
             number, size and spread of distant metastases, triggered by high EET levels, that we
             observed is unprecedented. Therefore, Aim 2 will determine whether endothelial-derived
             EETs facilitate dissemination at the site of the primary tumor (invasion, migration), or at
             the metastatic site (homing, colonization, dormancy escape). Aim 3 will test if EETs can
             serve as a pharmacological target for cancer therapy by determining if small molecule

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            antagonists of EETs inhibit tumor growth, and will begin to explore their mechanism of
            action.
            Total Direct Cost: $161,020.




2012-2016   Controlling Cancer with Aspirin-triggered Stimulation of Resolution
            NIH RO1 CA170549/National Cancer Institute
            Principal Investigator
            The goal of this project is to determine whether the anti-cancer activity of resolvins can be
            harnessed to eradicate cancer by an entirely novel approach which manipulates
            endogenous pro-resolving mediators. Aim 1 will establish in animal models that AT-RvDs
            have broad anti-cancer activity and elucidate the cellular mechanisms of action that
            regulate the inflammation-clearing effect of resolvins. This will set the foundation for Aim 2
            which is to determine whether aspirin’s anti-cancer activity is mediated by AT-RvD1. To
            abrogate resolvin receptor activity we will use genetically engineered mice that lack the
            RvD1 receptor ALX/FPR-2 and a pharmacological antagonist of its receptor (ALX/FPR-2).
            These studies lay the groundwork to optimize the resolvin pathway to inhibit or prevent
            cancer in preclinical studies for translation to humans. Thus in Aim 3 we will compare the
            toxicity profiles of resolvins to aspirin (i.e. in gastric bleeding and aspirin-induced mucosal
            injury). To determine if resolvins can replace aspirin in chemoprevention experiments, we
            will recapitulate the human experience with aspirin using the murine model of ApcMin/+
            colon carcinogenesis. This pre-clinical characterization will establish a new direction in
            cancer research and guide us in determining the optimal way to use resolvins in cancer
            trials in humans.
            Total Direct Cost: $143,128.

2015-2017   Innovation Grant (co-PI)
            Alex’s Lemonade Stand Foundation
            Regulation of Tumor Debris Mediated Inflammation as a Therapeutic Modality in
            Medulloblastoma
            The overall goal of this project is to study control of tumor cell debris mediated
            inflammation through resolvins and protectins, which represents a novel modality in
            medulloblastoma treatment.
            Total Direct Cost: $120,000.


2018-2019   Emory University Medical School (PI)
            Cancer therapy may inherently be a doubled-edged sword as iatrogenic procedures such
            as surgery (e.g. tumor resection and laparotomy), anesthesia, chemotherapy, and biopsy
            may create a wound/injury response in the body to stimulate tumor growth, pre-existing
            micro-metastasis, and dormancy escape via tumor-promoting inflammation and loss of
            tumor-specific immunity. We will study the role of cycloygenase (COX-1) inhibition and/or
            stimulating the resolution of inflammation to prevent tumor recurrence and tumor
            dormancy escape following therapy-induced tumor growth models. Total Direct Cost:
            $80,000.




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Ongoing
Research
Support

2012-      Research on Mechanisms of Anti-angiogenic activity of NXT-0001 Panigrahy (PI)
present    Tempest Therapeutics
           The goal of this project was to conduct pre-clinical studies to evaluate the anti-angiogenic
           activity of NXT-0001 and its efficacy in validated spontaneous metastasis and primary
           tumor models. To explore the mechanism of the anti-cancer activity of NXT-0001,
           immunohistochemistry and histology were performed on NXT-0001treated tumors versus
           control tumors.
           Total Direct Cost: $200,000.

2018-      Ionova Bio Ltd. Panigrahy (PI) 4/01/2018-3/31/2021
present    Research on Mechanisms of Anti-tumor activity of EP receptor antagonists
           The goal of this project is to conduct pre-clinical studies to evaluate the anti-
           tumorigenic activity of EP receptor antagonists and its efficacy in primary tumor
           models. To explore the mechanism of the anti-cancer activity of E P r e c e p t o r
           a n t a g o n i s t s , immunohistochemistry, flow cytometry and histology will be performed
           on EP receptor antagonist-treated tumors versus control tumors. Total Direct Cost:
           $212,000.
2018-      Boston Children’s Hospital/Dana Farber Cancer
present    Center Credit Union Kids at Heart Fund                  Panigrahy (PI)
                   New Domains in Pediatric Brain Cancer Research
           Total Direct Cost: $405,000.
           These studies focus on the role of resolvins and protectins in standard and debris-
           stimulated models of pediatric and adult cancers. Of particular interest are common CNS
           tumors such as medulloblastomas and gliomas including diffuse intrinsic pontine glioma
           (DIPG). We are evaluating which cell type in the brain regulates this process (e.g. is it the
           same cell type outside the brain) and testing new resolvin and protectin lipid mediators to
           see if targeting this pathway can effectively reduce the stimulatory signal that tumor cells
           receive with therapy.
2019-      CJ Buckley Brain Cancer Research Fund                Panigrahy (PI)
present    Inflammation Resolution in Pediatric Brain Cancer Research
           Total Direct Cost: $200,000.
           Brain Cancer is the leading cause of cancer related-deaths in children. To stimulate
           inflammation resolution, we are studying the therapeutic enhance of resolution via
           protectins and resolvins as a new modality to complement current brain cancer treatments
           that inevitably generate tumor cell debris.

2020-      NIH/NCI SBIR                                       Henderson (PI)
present    Bladder cancer chemotherapy potentiation with arachidonic acid modulation

           We will develop a dual COX2/sEH inhibitor (PTUPB) as a new class of orally bioavailable
           compounds with anti-inflammatory and anti-angiogenic properties that have single agent
           activity, but is also compatible with many chemotherapy regimens in bladder cancer. The
           novel concurrent inhibition of cyclooxygenase (COX-2) and soluble epoxide hydrolase
           (sEH) is expected to have very low toxicity, which differentiates the molecule from
           compounds in clinical trials that are only specific to one of these targets. The aims of the
           follow-up Phase II award will be to advance PTUPB towards an IND approval


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             Role: Consortium PI


Report of Local Teaching and Training
Laboratory and Other Research Supervisory and Training Responsibilities

2002-2005    Supervision of research assistant Andrea      Daily mentorship for 3 years
             LaForme
2005-2010    Supervision of research assistant Deviney     Daily mentorship for 5 years
             M. Chaponis
2009-2010    Hau Le, MD, University of Toronto             Weekly discussions for 1 year
2009-2013    Supervision of Harvard Medical School         Mentorship for 4 years
             student Brian Kalish, MD, Boston Children’s
             Hospital
2010-2012    Supervision of research assistant Emily R.    Daily mentorship for 2 years
             Greene
2010-2012    Kimberly Ferguson, BS, Student, Goethe        Monthly discussions for 2 years
             University Medical School
2010-2012    Ayala Luria, PhD, University of California,   Monthly discussions for 2 years
             Davis
2012-2014    Supervision of research assistant Dayna K.    Daily mentorship for 2 years
             Mudge
2013-2016    Supervision of post-doctoral fellow Yael      Daily mentorship for 3 years
             Gus-Brautbar
2012-2015    Supervision of research assistant Jessica     Daily mentorship for 3 years
             Casper
2013-2015    Supervision of research assistant Megan       Daily mentorship for 2 years
             Sulciner
2014-2016    Supervision of research assistant Kristen     Daily mentorship for 2 years
             Lehner
2014-2017    Supervision of research assistant Chantal     Daily mentorship for 3 years
             Barksdale
2014-2017    Supervision of research assistant Molly       Daily mentorship for 3 years
             Gilligan
2015-2017    Supervision of research assistant Donna       Daily mentorship for 2 years
             Vatnick
2016-2018    Supervision of research assistant Julia       Daily mentorship for 2 years
             Piwowarski
2016-2018    Supervision of research assistant Jaimie      Daily mentorship to present
             Chang
2017-2019    Supervision of post-doctoral fellow Allison   Daily mentorship to present
             Gartung
2016-2018    Supervision of research assistant Djanira     Daily mentorship to present
             Fernandes
2016-2017    Supervision of research assistant Jing Ting   Daily mentorship to present
             Yuan
2018         Supervision of high school student Dasha      Daily mentorship for summer
             Komarnitsky
2018         Supervision of college student Lucius Xuan    Daily mentorship for summer

2018         Supervision of college student Nicholas       Daily mentorship for summer
             Kieran
2019         Supervision of college student Kelsey         Daily mentorship for summer

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             Kendzulak
2019         Supervision of college student Maggie          Daily mentorship for summer
             Hallisey
2019-        Supervision of high school student Kieran      Daily mentorship for summer
present      Dunn
2018-        Supervision of post-doctoral fellow Haixia    . Daily mentorship to present
present      Yang
2019-        Supervision of post-doctoral fellow Jianjun    Daily mentorship to present
present      Deng
2018-2020    Supervision of research assistant Anna         Daily mentorship for 2 years
             Fishbein
2018-2020    Supervision of research assistant Victoria     Daily mentorship for 2 years
             Hallisey
2020-        Supervision of research assistant Victoria     Daily mentorship to present
present      Haak




Trainee Awards (n=49; 2011 to present)

2011 Prostaglandins and Other Lipid Mediators Young Investigator Award 13th International Winter
Eicosanoid Conference; Emily Greene. Baltimore, MD. March 13-16.

2013 Judah Folkman Research Day Award. 14th Annual Judah Folkman Research Day; Dayna
Mudge. Boston, MA. May 15.

2014   Best Abstract Award. 9th Annual Center for Vascular Biology Research Retreat. Jessica Casper.

2014 Women in Cancer Research Scholar Award. AACR Annual Meeting. Megan Sulciner. San Diego,
CA. April 5-9.

2014 Prostaglandins and Other Lipid Mediators Young Investigator Award 15th International Winter
Eicosanoid Conference. Dayna Mudge. Baltimore, MD. March 9-12.

2014   NIEHS Travel Award – The 15th International Winter Eicosanoid Conference. Yael-Gus Brautbar)

2014 Best Abstract Award - Boston University Henry M. Goldman School of Dental Medicine and Dana
Farber’s Head & Neck Cancer Symposium; Megan Sulciner; Boston, MA. April 28.

2014   Best Abstract/Poster Award – Harvard Pathology Retreat. Yael-Gus Brautbar

2014 Best Abstract Award. 10th Annual Center for Vascular Biology Research Retreat. Yael Gus-
Brautbar.

2014 Best Data Club Presentation. 10th Annual Center for Vascular Biology Research Retreat. Jessica
Casper.

2014 Undergraduate Best Poster Prize. Chantal Barksdale. Chestnut Hill, MA. December 11.

2015 Best Abstract Award - Boston University Henry M. Goldman School of Dental Medicine and Dana
Farber’s Head & Neck Cancer Symposium; Molly Gilligan. Boston, MA. September 21.


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2015   Cayman Chemical Travel Award. Chantal Barksdale. Budapest, Hungary. July 12-15.

2015   Cayman Chemical Travel Award - 14th International Conference on Bioactive Lipids in Cancer,
Inflammation and Related Diseases; Kristen Lehner. Budapest, Hungary. July 12-15.

2015     Scholar of the College - Awarded at Boston College commencement; Chantal Barksdale;
Chestnut Hill, MA. May 15.

2015 Hans-Mongo-ASIP Trainee Travel Award for Excellence in Neoplasia Research – Experimental
Biology; Kristen Lehner; Boston, MA. March 31.

2015 American Society for Investigative Pathology, Pathobiology for Investigators, Students, and
Academicians (PISA) Trainee Travel Award. Kristen Lehner. Baltimore, MD. October 8-10.

2015 American Society for Investigative Pathology, Pathobiology for Investigators, Students, and
Academicians (PISA) Trainee Travel Award; Molly Gilligan. Baltimore, MD. October 8-10.

2015 Outstanding Achievement in Beth Israel Deaconess Medical Center Research Assistant Learning
Initiative (RALI) Mini Grand Rounds Award of Recognition. Kristen Lehner. Boston, MA. May 28.

2015 Outstanding Achievement in Beth Israel Deaconess Medical Center Research Assistant Learning
Initiative (RALI) Mini Grand Rounds Award of Recognition. Molly Gilligan. Boston, MA. November 17.

2016 Best Poster Award - 16th International Winter Eicosanoid Conference. Molly Gilligan; Baltimore,
MD. March 13-16.

2016 Prostaglandins and Other Lipid Mediators Young Investigator Award 16th International Winter
Eicosanoid Conference; Yael Gus-Brautbar. Baltimore, MD. March 13-16.

2016   Experimental Biology, ASIP Trainee Award Award Winner. Donna Vatnick; San Diego, CA. April
2-6.

2016 Outstanding Achievement in Beth Israel Deaconess Medical Center Research Assistant Learning
Initiative (RALI) Mini Grand Rounds Award of Recognition; Chantal Barksdale; Boston, MA.

2016 Alex Lemonade Stand Foundation POST medical student award; “Control of Medulloblastoma
through the Regulation of Tumor Debris”; (PI: Megan Sulciner). Boston, MA. June to August.

2016    American Brain Tumor Association Medical Student Fellowship Award; “Control of
Medulloblastoma through the Regulation of Tumor Debris”; (PI: Megan Sulciner). Boston, MA. June to
August.

2016 Center for Vascular Biology Research Annual Retreat – Best Data Meeting/Journal Club. Molly
Gilligan. September 19.

2017 Hans-Mongo-ASIP Trainee Travel Award for Excellence in Neoplasia Research – Experimental
Biology. Jaimie Chang; Chicago, IL. April 22-26.

2017 Boston University Medical School - Master of Arts in Medical Science Program (MAMS) Djanira
Fernandes, Best Research Presentation. April 12.

2017 Harvard Pathology Retreat – Jaimie Chang, Best Poster Award. May 12.

2017 Cayman Chemical Travel Award - Jaimie Chang. 15th International Conference on Bioactive Lipids

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in Cancer, Inflammation and Related Diseases; Puerta Vallarta, Mexico. October 22-25.

2017 Cayman Chemical Travel Award – Allison Gartung. 15th International Conference on Bioactive
Lipids in Cancer, Inflammation and Related Diseases; Puerta Vallarta, Mexico. October 22-25.


2017 POLM Young Investigator Award – Karolina Serhan. 15th International Conference on Bioactive
Lipids in Cancer, Inflammation and Related Diseases; Puerta Vallarta, Mexico. October 22-25.

2018 NIH-NIEHS Travel Award – The 17th International Winter Eicosanoid Conference. Allison Gartung;
Baltimore, MD

2018 Center for Vascular Biology Research Annual Retreat- Best Data meeting. Allison Gartung; Boston,
MA.

2018 Experimental Biology ASIP Trainee Travel Award, Allison Gartung, San Diego, CA.

2019 HCS/ASIP Trainee Travel Award; Experimental Biology; Allison Gartung (Orlando, FL)

2019 HCS Vector Laboratories Young Investigator Award; Experimental Biology Allison Gartung
 (Orlando, FL)

2019 HCS Trainee Travel Award; Experimental Biology Victoria Hallisey (Orlando, FL)

2019 Best Poster Award; Harvard Medical School Pathology Retreat Allison Gartung (Boston, MA)
2019 Santosh Nigam Young Investigators Award; 16th International Bioactive Lipids. Anna Fishbein –
(St. Petersburg, FL)

2019 Caymen Chemical Trainee Travel Award; 16th International Bioactive Lipids. Victoria Hallisey
(St. Petersberg, FL)

2019 Cayman Chemical Travel Grant; 16th International Bioactive Lipids. Anna Fishbein (St. Petersburg,
FL)

2019 Anna Fishbein – Bioteche “Go Anywhere” Travel Grant; 16th International Bioactive Lipids (St.
Petersburg, FL)

2020 POLM Young Investigator Award; 18th International Winter Eicosanoid Conference. Victoria
Hallisey (Baltimore, MD)

2020 NIH-NIEHS Travel Award; 18th International Winter Eicosanoid Conference. Anna Fishbein
(Baltimore, MD)

2020 NIH-NIEHS Travel Award; 18th International Winter Eicosanoid Conference. Sanne Verheul -
(Baltimore, MD)

2020 NIH-NIEHS Travel Award; 18th International Winter Eicosanoid Conference. Jianjun Deng -
(Baltimore, MD)

2020 ASIP Trainee Travel Award; Experimental Biology. Anna Fishbein (San Diego, CA)




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Local Invited Presentations


Harvard Medical School and Boston Children’s Hospital, Boston MA

2002        The Role of PPARγ in Angiogenesis and Tumor Growth
            Invited Speaker, Vascular Biology Program Seminar Series
            Departement of Surgery, Boston Children’s Hospital, Boston, MA.
2004        The Role of Host PPARα in Angiogenesis and Tumor Growth
            Invited Speaker, Vascular Biology Program Seminar Series
            Departement of Surgery, Boston Children’s Hospital, Boston, MA.
2006        The Role of PPARs in Tumor Angiogenesis
            Invited Speaker, Department of Surgical Research 24th Annual Retreat
            American Academy of Arts and Sciences, Cambridge, MA.
2009        Endothelial Epoxyeicosatrienoic Acids Control Angiogenic Disease
            Invited Speaker, Vascular Biology Program Seminar Series
            Boston Children’s Hospital, Boston, MA. October 7, 2009.
2010        Epoxyeicosatrienoic Acids Control Angiogenesis-dependent Regeneration, Cancer and
            Metastasis
            Invited Speaker, Angiogenesis, Invasion, and Metastasis Program
            Harvard Medical School, Boston, MA. April 6, 2010,
2010        Epoxyeicosatrienoic Acids Stimulates Cancer and Multi-organ Metastasis
            Invited Speaker, Pediatric Hematology/Oncology Retreat
            Dana Farber Cancer Institute, Endicott House, Cambridge, MA. October 7, 2010.
2010        Epoxy-Eicosanoids: The Missing Link Between Obesity, Cancer, and Nutrition
            Invited Speaker, 28th Annual Vascular Biology Retreat
            Boston Children’s Hospital, Cambridge, MA. October 29, 2010.
2010        Metastasis, Angiogenesis, and Beyond
            Panelist, 28th Annual Vascular Biology Retreat
            Boston Children’s Hospital, Cambridge, MA. October 29, 2010.
2011        The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
            Invited Speaker, Schepens Eye Institute, Harvard Medical School, Boston, MA. January 11,
            2011.
2011        The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration: The
            Folkman Legacy Revisited
            Invited Speaker, Vascular Biology Seminar Series
            Harvard Medical School, Boston, MA. March 3, 2011.
2011        Aspirin: New tricks for an old drug
            Invited Speaker, 29th Annual Vascular Biology Retreat
            Boston Children’s Hospital, Cambridge, MA. November 9, 2011.
2012        The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
            Invited Speaker, Department of Pathology
            Beth Israel Deaconess Medical Center, Boston, MA. June 27, 2012.
2014        Cancer Progression:Failure to Resolve?
            Invited Speaker, Beth Israel Deaconess Pathology Ground Rounds
2016-       “Tumor angiogenesis” – HST 527 “Blood Vessels and Endothelial Cells Phenotypes in
present     Health and Diseases- Harvard Medical School
2017        Omega-3 polyunsaturated fatty-acid derived pro-resolving mediators in cancer (CRI Faculty
            Seminar series; Beth Israel Deaconess Medical Center)
2018        CRI Faculty Seminar series- Beth Israel Deaconess Medical Center


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Report of Regional, National and International Invited Teaching and Presentations
Those presentations below sponsored by outside entities are so noted and the sponsors are identified.
Invited Presentations and Courses
Regional


1994          The Porto-Renal Shunt: Surgical Option for Budd-Chiari Syndrome
              Presenter, World International Congress of the Hepato-Pancreatico-Biliary Association
              Boston, MA.
2005          Tumor Modeling in Mice for the Evaluation of Anticancer Activity
              Invited Speaker (Momenta Pharmaceuticals) Cambridge, MA.
2007          Pre-Clinical Models for Testing Anti-cancer Drugs
              Invited Speaker, Pervasis Therapeutics, Cambridge, MA.
2008          Targeting the Tumor Stroma through PPARs
              Invited Speaker, 10th Annual Boston Angiogenesis Meeting, Boston, MA. November 7,
              2008.
2010          Epoxyeicosatrienoic Acids Stimulate Cancer and Multi-organ Metastasis
              Invited Speaker, Society of Pediatric Radiology, Boston, MA. April 17, 2010.
2010          Control of Angiogenesis-mediated Regeneration, Cancer, and Metastasis by
              Epoxyeicosatrienoic Acids
              Invited Speaker, Center of Cancer Systems Biology
              Caritas St. Elizabeth’s Medical Center, Tufts University School of Medicine, Boston, MA.
              November 9, 2010.
2010-         Tumor Angiogenesis: From Bench to Bedside
present       Guest Lecturer, Biology of Cancer Course, Stonehill College, Easton, MA.
2010-         The Life of Dr. Judah Folkman
present       Guest Lecturer, Biology of Cancer Course, Stonehill College, Easton, MA.
2011          The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
              Invited Speaker, Boston University Medical School, Boston, MA. April 14, 2011.
2013-         The Life of Dr. Judah Folkman
present       Guest Lecturer, Cancer Biology, Boston College, Chestnut Hill, MA.
2013-         Cancer Progression: Resolution as the Solution,
present       Guest Lecturer, Cancer Biology, Boston College, Chestnut Hill, MA.
2013          The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
              Invited Speaker, Experimental Biology, Boston, MA.
2013          Epoxy-eicosanoids Stimulate Multi-organ Metastasis and Tumor Dormancy Escape
              Invited Speaker, Drug Discovery & Therapy World Congress, Boston, MA.
2017          “Diversifying your Funding” - Grant Review and Support Program (GRASP),
              Cambridge,MA
2017          “Making the transition from K award to Research Independence” - Grant Review and
2017          Support Program (GRASP), Cambridge, MA
2018          Invited Speaker, University of Massachusetts-Amherst (Molecular and Cellular Biology
              Program)
2020          Harvard Resolution of Inflammation Symposium, Boston, MA




National

1991          Sucralfate: A Potentail Therapeutic Agent for Treating Corneal Ulcers
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          Invited Speaker, Eastern Student Research Forum, Miami, FL.
1991      Angioinhibin I: Novel Inhibitor of Angiogenesis and Tumor Growth
          Invited Speaker, 32nd Annual National Student Research Forum, Galveston, TX.
1994      Modulation of Intraocular Pressure by Aldosterone and Spironolactone
          Invited Speaker, The Association for Research in Vision and Ophthalmology, Sarasota,
          FL.
1998      Human Ovarian Cancer Produces an Inhibitor of Angiogenesis and Tumor Growth
          Invited Speaker, The Society of University Surgeons Residents Program, Milwaukee, WI.
1998      Anti-angiogenic Therapy of Orthotopic Human Prostate Cancer in Mice Guided by
          Prostatic-specific Antigen
          Invited Speaker, American College of Surgeons 84th Annual Clinical Congress, Orlando,
          FL.
1999      Thalidomide for the Treatment of Experimental Hemangioendothelioma
          Invited Speaker, American College of Surgeons 85th Annual Clinical Congress, San
          Francisco, CA.
2003      Inhibition of Angiogenesis and Tumor Growth by PPARα Ligands
          Invited Speaker, Entremed, Inc., Rockville, MD.
2004      Anti-angiogenic and Antitumor Activities of PPARα Ligands
          Invited Speaker, 95th Annual Meeting of the American Association of Cancer Research,
          Orlando, FL.
2007      Anti-tumor effects of PPARα Agonist Lipid Lowering Drugs Mediated through the Tumor
          Microenvironment
          Presenter, In the Forefront of Basic and Translational Cancer Research 7th AACR-JCA
          Joint International Conference, Waikoloa, HI.
2007      Targeting the Tumor Stroma with PPARα Agonists
          Invited Speaker, Bear Necessities Pediatric Cancer Foundation, Chicago, IL.
2008      Targeting Inflammation in Tumors Through PPARs
          Invited Speaker, 10th Annual Winter Eicosanoid Conference, Baltimore, MD.
2009      Endothelial-derived EETs Promote Angiogenesis, Primary Tumor Growth, and Metastasis
          in Transgenic Mice
          Invited Speaker, 11th Annual Winter Eicosanoid Conference, Baltimore, MD.
2010      Epoxyeicosatrienoic Acids Control Angiogenesis-dependent Regeneration, Cancer, and
          Metastasis
          Invited Speaker, National Institute of Environmental Health Science, National Institute of
          Health, Triangle Park, NC.
2010      Epoxyeicosatrienoic Acids Control Angiogenesis-dependent Regeneration, Cancer, and
          Metastasis
          Invited Speaker, Clinical Pharmacology Grand Rounds, Vanderbilt University, Nashville,
          TN.
2011      The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
          Invited Speaker, Department of Pharmacology, New York Medical College, Valhalla, NY.
2011      Cancer Progression: the Failure to Resolve?
          Invited Speaker, 12th International Conference on Bioactive Lipids in Cancer,
          Inflammation, and Related Diseases, Seattle, WA.
2012      The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
          Invited Speaker, Cancer Biology Research Seminar, University of California Davis Cancer
          Center, Davis, CA.
2012      The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
          Invited Speaker, UC Davis Biotechnology Program, Davis, CA.
2012      The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
          Invited Speaker, Inception Pharmaceuticals, San Diego, CA.
2012      The Role of Epoxyeicosatrienoic Acids in Cancer and Metastasis
          Invited Speaker, 14th Annual Winter Eicosanoid Conference, Baltimore, MD.
2012      The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration

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                Invited Speaker, Lung Biology Research Seminar Series, University of Rochester School
                of Medicine and Dentistry, Rochester, NY.
2012            The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration
                Invited Speaker, Department of Pathology Seminar Series, Wayne State University
                School of Medicine, Detroit, MI.
2012            The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration.
                Invited Speaker, Department of Physiology. Georgia Health Sciences University, Augusta,
                GA.
2013            The Role of Epoxyeicosatrienoic Acids in Cancer Metastasis and Regeneration.
                Invited Speaker, Clinical Research Divison, Fred Hutchinson Cancer Center, Seattle, WA
2013            Invited Speaker, Stimulation of inflammation resolution by resolvins inhibits tumor growth.
                13th International Conference on Bioactive Lipids in Cancer, Inflammation, and Related
                Diseases, San Juan, PR.
2013            Invited Speaker, The Role of NXT in Cancer, Inception Pharmaceuticals, San Diego, CA
2014            Invited Speaker, Regulation of Cancer by Cytochrome P450-derived Eicosanoids, 14th
                Annual Winter Eicosanoid Conference, Baltimore, MD.
2014            Invited Speaker, Resolvins & Cancers, New York Academy of Science Symposium -
                Pharmacologic Resolution of Inflammation as a Novel Therapeutic Approach, New York,
                NY
2014            Invited Speaker, Suppression of Cell Debris-Stimulated Tumor Growth By Resolvin
                Mediated Clearance, Department of Pathology, Wayne State University, Detroit, MI
2015            Invited Speaker, Lipids@Wayne Symposium, Wayne State University, Detroit, MI
2015            Invited Speaker, BIDMC – JAX Immunology Special Interest Group Workshop
2015            Invited Speaker, Cancer Progression:Failure to Resolve?; The Cotran Lecture;
                Experimental Biology, Boston, MA
2015            Invited Speaker, Inception Sciences, San Diego, CA
2015            Invited Speaker, Penn State Bortree Lecture Series Invitation, University Park, PA
2015            Invited Speaker, Prostate Cancer Foundation Scientific Retreat, Washington DC
2015            Invited Speaker, Biodesign Discovery Lecture Series, The Biodesign Institute at Arizona
                State University, Tempe, AZ
2016            Invited Speaker, Experimental Biology, San Diego, CA
2016            Invited Speaker, Medical College of Wisconsin, San Diego, CA
2016            Invited Speaker, UCLA Jonsson Comprehensive Cancer Center “Leaders in the Field”
                seminar, Los Angeles, CA
2017            Invited Speaker, Wright State University, Dayton, OH
2018            Invited Speaker, American Society for Pharmacology & Experimental Therapeutics, San
                Diego, CA
2018            Invited Speaker, New York Academy of Sciences, New York City, NY
2019            Invited Speaker, Bioactive Lipids in Cancer, Inflammation, and Related Diseases, St.
                Petersberg, FL
2019            Invited Speaker, Masonric Cancer Center, University of Minnesota, Minneapolis, MN




International


2009            Endothelial-derived EETs regulate Tumor Angiogenesis and Metastasis
                Invited Speaker, 4th Medical Biotech Forum, Dalian, China.
2009            Control of Cancer and Metastasis by Endothelial-derived Epoxyeicosatrienoic Acids
                Invited Speaker, 11th International Conference on Bioactive Lipids in Cancer,

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          Inflammation, and Related Diseases, Cancun, Mexico.
2010      Epoxyeicosatrienoic Acids Control Angiogenesis-dependent Regeneration, Cancer, and
          Metastasis
          Invited Speaker, Graduate School Lecture Series, Goethe University, Videoconference to
          Heidelberg University and Mannheim University, Frankfurt, Germany.
2010      Epoxyeicosatrienoic Acids Control Angiogenesis-dependent Regeneration, Cancer, and
          Metastasis
          Invited Speaker, Center for Integrative Genomics, University of Lausanne, Lausanne,
          Switzerland.
2010      Endothelial Epoxyeicosatrienoic Acids Stimulate Cancer and Multi-organ Metastasis
          Invited Speaker, 8th Annual Congress of International Drug Discovery, Science, and
          Technology, Beijing, China.
2010      Epoxyeicosatrienoic Acids Control Angiogenesis-dependent Regeneration
          Invited Speaker, 3rd Annual World Congress of Regenerative Medicine and Stem Cells,
          Shanghai, China.
2012      Epoxy-eicosanoids Stimulate Multi-organ Metastasis and Tumor Dormancy Escape
          Invited Speaker, 4th International Conference on Drug Discovery & Therapy, Dubai, United
          Arab Emirates.
2012      Epoxy-eicosanoids Promote Tissue and Organ Regeneration
          4th international Conference on Drug Discovery & Therapy, Dubai, United Arab Emirates.
2012      Epoxyeicosatrienoic Acids Regulate Angiogenesis-mediated Tissue Regeneration
          Invited Speaker, 5th Annual World Congress of Regenerative Medicine and Stem Cells,
          Guangzhou, China.
2013      Invited Speaker, Biopharmaceutical Summit, Frankfurt, Germany.
2014      Invited Speaker, The 18th International Vascular Biology Meeting, Kyoto, Japan.
2014      Invited Speaker, Endothelial Cell Phenotypes in Health and in Disease, Girona, Spain.
2014      Invited Speaker, 2014 Wuhan Symposium on Polyunsaturated Fatty Acid and
          Metabolism, China
2015      Invited Speaker, 14th International Conference on Bioactive Lipids in Cancer,
          Inflammation, and Related Diseases, Budapest, Hungary.
2015      Invited Speaker, Visiting Professor, Khon Kaen University, Thailand.
2016      Invited Speaker, 6th European Workshop on Lipid Mediators, Frankfurt Germany.
2017      Invited Speaker, 15th International Conference on Bioactive Lipids in Cancer,
          Inflammation, and Related Diseases, Puerto Vallarta, Mexico.
2018      Invited Speaker, 1st Workshop on Resolutive Pharmacology for Inflammatory Diseases,
          Besancon, France
2019      Invited Speaker, Visiting Professor, Khon Kaen University, Thailand.
2019      Invited Speaker, Frankfurt, Germany
2019      Invited Speaker, Foshan, China
2019      Invited Speaker, Xian, China
2019      Invited Speaker, Madrid, Spain




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Report of Technological and Other Scientific Innovations

Use of              Panigrahy D, Kieran MW, inventors; Children’s Hospital Boston.
epoxyeicosanoids    Epoxyeicosatrienoic Acids: A Lipid Autacoid that Regulates Tissue Homeostasis,
in tissue           Tumor Growth and Metastasis. US patent 61/300,477. 2010 February 2.
regeneration,       We demonstrated the first application of epoxyeicosanoids to stimulate organ
including organ     regeneration and wound healing.
regeneration, and
wound healing

Use of TNP-470      Rupnick M, Panigrahy D, Langer, R, Folkman J, inventors; Children’s Hospital
                    Boston. Method for Regulating Size of Vascularized Normal Tissue. US patent
                    6306819. 2001.
                    This was the first demonstration that angiogenesis inhibitors can regulate obesity.

Targeting the        Sukhatme V, Panigrahy D. Methods for Reducing Recurrence of Tumors. US
perioperative        Patent 62/419,785.
period, especially Synthetic COX-1 selective inhibitors should be synthesized and targeted for
the administration administration prior to surgery or biopsy to prevent tumor recurrence and
of COX-1             tumor dormancy escape.
selective inhibitors
preoperatively,      Serhan CN Panigrahy D, Proresolving mediators and Cancer Clearance
                     63,171 BWH 24733 BI 2093
may prevent
tumor recurrence Sukhatme V, Serhan CN, Panigrahy D. Prevention of Surgery-Stimulated Tumor
after surgery or     Growth and Metastasis by Resolvins;.Attorney Docket No. 13681-0032P01/BIDMC
biopsy.              2092




Report of Scholarship
Publications




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Research Investigations

1.      Panigrahy D, Beecken WC, Boehm T, Keough K, Stewart R, Flynn E,Achilles EA, Folkman J.
        Antiangiogenic Therapy of Orthotopic Human Prostate Cancer in Mice Guided by Prostate-
        Specific Antigen. Surgical Forum. 1998.

2.      Arbiser JL, Panigrahy D, Klauber N, Rupnick M, Flynn E, Udagawa T, D'Amato RJ. The
        Antiangiogenic Agents TNP-470 and 2-Methoxyestradiol Inhibit the Growth of Angiosarcoma in
        Mice. Journal of American Academy of Dermatology. 1999; 40:925-929.

3.      Hahnfeldt P, Panigrahy D, Folkman J, Hlatky L. Tumor Development Under Angiogenic
        Signaling: A Dynamical Theory of Tumor Growth, Treatment Response, and Postvascular
        Dormancy. Cancer Research. 1999; 59:4770-4775.

4.      Verheul HMW, Panigrahy D, D’Amato RJ. Combination Oral Antiangiogenic Therapy with
        Thalidomide and Sulindac Inhibits Tumour Growth in Rabbits. British Journal of Cancer. 1999;
        79:114-118.

5.      Verheul HMW, Panigrahy D, Flynn E, Pinedo HM, D’Amato RJ. Treatment of the Kasabach-
        Merritt Syndrome with Pegylated Recombinant Human Megakaryocyte Growth and Development
        Factor in Mice: Elevate Platelet Counts, Prolonged Survival, and Tumor Growth Inhibition.
        Pediatric Research. 1999; 46:562-565.

6.      Zhao H, Bojanowski K, Ingber DE, Panigrahy D, Pepper MS, Montesano R, Shing Y. A New
        Role for tRNA and its Fragment Purified from Human Urinary Bladder Carcinoma Conditioned
        Medium: Inhibition of Endothelial Cell Growth. Journal of Cellular Biochemistry.1999; 76:109-117.

7.      Lin J, Panigrahy D, Trinh LB, Folkman J, Shiloach J. Production Process for Recombinant
        Human Angiostatin in Pichia pastoris. Journal of Industrial Microbiology and Biotechnology. 2000.

8.      Udagawa T, Yuan J, Panigrahy D, Madsen J, D’Amato RJ. Cytochalasin E, an Epoxide
        Containing Aspergillus-derived Fungal Metabolite, Inhibits Angiogenesis and Tumor Growth.
        Journal of Pharmacology and Experimental Therapeutics. 2000; 294:421-427.

9.      Beecken WD, Fernandez A, Panigrahy D, Achilles EG, Kisker O, Flynn E, Joussen AM, Folkman
        J, Shing Y. Efficacy of Antiangiogenic Therapy with TNP-470 in Superficial and Invasive Bladder
        Cancer Models in Mice. Urology. 2000; 56:521-526.

10.     Stewart RJ, Panigrahy D, Flynn E, Folkman J. Vascular Endothelial Growth Factor Expression
        and Tumor Angiogenesis are Regulated by Androgens in Hormone Responsive Human Prostate
        Carcinoma: Evidence for Androgen Dependent Destabilization of Vascular Endothelial Growth
        Factor Transcripts. The Journal of Urology. 2001; 165:688-693.

11.     Rupnick MA, Panigrahy D, Zhang CY, Lowell BB, Langer R, Folkman J. Adipose Tissue Mass:
        Can be Regulated Through the Vasculature. Proceedings of the National Academy of Sciences.
        2002;99(16): 10730-10735. (cover)

12.      Panigrahy D, Singer S, Shen LQ, Butterfield CE, Freedman DA, Moses MA, Kilroy S, Duensing
        S, Fletcher C, Fletcher JA, Hlatky L, Hahnfeldt P, Folkman J, Kaipainen A. PPARγ Ligands Inhibit
        Primary Tumor Growth and Metastasis by Inhibiting Angiogenesis. Journal of Clinical
        Investigation. 2002;110(7):923-932. (cover)

13.     Duensing A, Medeiros F, McConarty B, Joseph NE, Panigrahy D, Singer S, Fletcher CD,
        Demetri GD, Fletcher JA. Mechanisms of Oncogenic KIT Signal Transduction in Primary

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        Gastrointestinal Stromal Tumors (GISTs). Oncogene. 2004;23(22)3999-4006.

14.     Hida, K, Hida Y, Amin DN, Flint A, Panigrahy D, Morton CC, Klagsbrun M. Tumor-Associated
        Endothelial Cells with Cytogenetics Abnormalities. Cancer Research. 2004;64(22):8249-8255.
        (cover)

15.     Kaipainen A, Kieran MW, Huang S, Butterfield C, Bielenberg D, Mostoslavsky G, Mulligan R,
        Folkman, J, Panigrahy D*. PPARα Deficiency in Inflammatory Cells Suppresses Tumor Growth.
        PLoS ONE. 2007; 2(2): e260 1-11.

16.     Panigrahy D*, Kaipainen A, Huang S, Butterfield C, Barnes CM, Fannon M, Laforme AM,
        Chaponis DM, Folkman J, Kieran MW. The PPARα Agonist Fenofibrate Suppresses Tumor
        Growth Through Direct and Indirect Angiogenesis Inhibition. Proceedings of the National
        Academy of Sciences. 2008 105(3) 985-990.

17.     Fannon M, Forsten-Williams K, Nugent MA, Gregory KJ, Chu CL, Goerges-Wildt AL, Panigrahy
        D, Kaipainen A, Barnes C, Lapp C, Shing Y. Sucrose Octasulfate Regulates Fibroblast Growth
        Factor-2 Binding, Transport, and Activity: Potential for Regulation of Tumor Growth. Journal of
        Cell Physiology. 2008 215(2):434-441.

18.     Panigrahy D, Kaipainen A, Butterfield C, Chaponis DM, Laforme AM, Folkman J, Kieran MW.
        Inhibition of Tumor Angiogenesis by Oral Etoposide. Experimental and Therapeutic Medicine.
        2010 1(5):739-746.

19.     Benny O, Nakai K, Yoshimura T, Bazinet L, Akula JD, Nakao S, Hafezi-Moghadam A, Panigrahy
        D, Pakneshan P, D’Amato RJ. Broad Spectrum Antiangiogenic Treatment Regresses Ocular
        Neovascular Diseases in Mice. PloS ONE. 2010 1:5(9) pii: e12515.

20.     Fernandez CA, Roy R, Lee S, Yang J, Panigrahy D, Van Vliet KJ, Moses MA. The Anti-
        angiogenic Peptide, Loop 6, Binds IGF-IR. Journal of Biological Chemistry. 285(53);41886-95.
        2010 December 31.

21.     Chaponis D, Barnes J, Dellagatta JL, Kesari S, Fast E, Sauvageot C, Panigrahy D,
        Ramakrishna N, Wen PY, Kung AL, Stiles C, Kieran MW. Lonafarnib (SCH66336) Improves the
        Activity of Temozolomide and Radiation for Orthotopic Maligant Gliomas. Journal of Neuro-
        Oncology. 2011 Aug; 104(1); 179-189.


22.    Panigrahy D*, Edin ML, Lee CR, Huang S, Bielenberg DR, Butterfield CE, Barnés CM, Mammoto
       A, Mammoto T, Luria A, Benny O, Chaponis DM, Dudley AC, Greene ER, Vergilio J, Pietramaggiori
       G, Scherer-Pietramaggiori SS, Short SM, Seth M, Lih FB, Tomer KB, Yang J, Schwendener RA,
       Hammock BD, Falck JR, Manthati VL, Ingber DE, Kaipainen A, D’Amore PA, Kieran MW, Zeldin
       DC. Epoxy-eicosanoids stimulate multi-organ metastasis and tumor dormancy escape in mice.
       The Journal of Clinical Investigation 2012, 122(1):178-191. PMID:22182838 (Featured with
       related commentary in The Journal of Clinical Investigation: Wang D, Dubois RN.
       Epoxyeicosatrienoic acids: a double-edged sword in cardiovascular diseases and cancer 2012,
       122(1):19-22. Voted by Faculty of 1000 as one of the top 2% of publications in biology and
       medicine.)


23.    Barnés CM, Prox D, Christison-Lagay EA, Le HD, Short S, Cassiola F, Panigrahy D, Chaponis D,
       Butterfield C, Nehra D, Fallon EM, Kieran M, Folkman J, Puder M. Inhibition of neuroblastoma
       cell proliferation with omega-3 fatty acids and treatment of a murine model of human
       neuroblastoma using a diet enriched with omega-3 fatty acids in combination with sunitinib.

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        Pediatr Res. 2012      Feb;71(2):168-78.   doi:   10.1038/pr.2011.28.   Epub   2011    Dec     21.
        PMID:22258128

24.     Stahl A, Joyal JS Chen J, Sapieha P, Juan AM, Hatton CJ, Pei DT, Hurst CG, Seaward MR,
        Krah NM, Dennison RJ, Greene ER, Boscolo E, Panigrahy D#, Smith LE. SOCS3 is an
        endogenous inhibitor of pathologic angiogenesis. Blood. 2012 Jul 12. [Epub ahead of print]

25.     Zhang G, Panigrahy D, Mahakian L, Yang J, Liu J, Lee K, Wettersten H, Ulu A, Hu X,
        Tam S, Hwang S, Ingham E, Kieran MW, Weiss RH, Ferrara KW, and Hammock BD.
        Epoxy metabolites of docosahexaenoic acid (DHA) inhibit angiogenesis, tumor growth, and
        metastasis. Proceedings of the National Academy of Sciences. 2013, Apr 16;110(16):6530-5.

26.     Dearling JL. Barnes JW, Panigrahy D, Zimmerman RE, Fahey F, Treves ST, Morrison MS,
        Kieran MW, Packard AB. Specific uptake of 99mTc-NC100692, an αvβ3-targeted imaging
        probe, in subcutaneous and orthotopic tumors. Nucle Med Biol. 2013 Aug 40(6):788-94.

27.     Mammoto T, Jiang A, Jiang E, Panigrahy D, Kieran MW, and Mammoto A. A Role of Collagen
        Matrix in Tumor Angiogenesis and Glioblastoma Multiforme Progression. The American Journal
        of Pathology. 2013 Oct 183(4):1293-305.

28.     Panigrahy D*, Kalish BT, Huang S, Bielenberg DR, Le HD, Yang J, Edin ML, Lee CR, Benny O,
        Mudge DK, Butterfield CE, Mammoto A, Mammoto T, Inceoglu B, Jenkins RL, Simpson M, Akino
        T, Lih FB, Tomer KB, Ingber DE, Hammock BD, Falck JR, Manthati VL, Kaipainen A, Amore PA,
        Puder M, Zeldin DC, Kieran MW. Epoxyeicosanoids Promote Organ and Tissue Regeneration.
        Proceedings of the National Academy of Sciences. 2013 Aug 13:110(33):13528-33.

29.     Shao Z, Fu Z, Stahl A, Joyal JS, Hatton C, Juan A, Hurst C, Evans L, Cui Z, Pei D, Xu D, Edin
        ML, Lih F, Sapieha P, Chen J, Panigrahy D, Hellstrom A, Zeldin DC, Smith LE. Cytochrome
        P450 2C8 ω3LCPUFA Metabolites Increase Pathologic Neovascularization in Mouse Oxygen-
        Induced Retinopathy. Arteriosclerosis, Thrombosis, and Vascular Biology. 2014 Mar;34(3):581-6.

30.     Dahlman JE, Barnes C, Khan O, Thiriot A, Jhunjunwala S, Shaw TE, Xing Y, Sager HB, Sahay
        G, Speciner L, Bader A, Bogorad RL, Yin H, Racie T, Dong Y, Jiang S, Seedorf D, Dave A,
        Sandu KS, Webber MJ, Novobrantseva T, Ruda VM, Lytton-Jean AK, Levins CG, Kalish B,
        Mudge DK, Perez M, Abezgauz L, Dutta P, Smith L, Charisse K, Kieran MW, Fitzgerald K,
        Nahrendorf M, Danino D, Tuder RM, von Andrian UH, Akinc A, Panigrahy D, Schroeder A,
        Kotelianski V, Langer R, Anderson DG. Nat Nanotechnol. 2014 Aug 9(8):648-55.

31.     Gus-Brautbar Y, Panigrahy D. Time heals all wounds-but 12-HHT is faster. Journal of
        Experimental Medicine. 2014 June 2, 211 (6): 1008.

32.      Panigrahy D, Adini I, Mamluk R, Levonyak N, Bruns CJ, D’Amore PA, Klagsbrun M,
         Bielenberg DR. Regulation of soluble neuropilin 1, an endogenous angiogenesis inhibitor, in
         liver development and regeneration. Pathology. 2014 Aug; 46(5):416-23.

33.     Zhang G, Panigrahy D**, Hwang SH, Yang J, Mahakian LM, Wettersten HI, Liu JY, Wang Y,
        Ingham ES, Tam S, Kieran MW, Weiss RH, Ferrara KW, Hammock BD. Dual inhibition of
        cyclooxygenase-2 and soluble epoxide hydrolase synergistically suppresses primary tumor
        growth and metastasis. Proceedings of the National Academy of Sciences. 2014 Jul
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Abstracts, Poster Presentations and Exhibits Presented at Professional Meetings

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2. Le H, Kieran MW, Zeldin DC, Kalish B, de Meijer VE, Edin ML, Lee CR, Vergilio J, Hammock BD,
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   BD, Falck JR, Puder M, Zeldin DC, Panigrahy D. Epoxyeicosatrienoic acids promote organ
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10. Serhan K, Mudge DK, Bielenberg DR, Greene ER, Hwang SH, Hammock BD, Kieran MW,
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Narrative Report (limit to 500 words)

I was accepted into medical school while in high school. I trained in surgery with Dr. Roger Jenkins, who
performed the first liver transplant in Boston. Over the past decades, I have led angiogenesis and cancer
animal modeling in the Folkman laboratory (where many of these models were pioneered).

Major Research Contributions: I have a longstanding interest in eicosanoids in cancer, focusing on the
tumor stroma including angiogenesis and inflammation. I was fortunate enough to be mentored by one of
the leading scientists in this field, Dr. Judah Folkman. I demonstrated the endothelium and certain
stromal cells secrete EETs, and that these lipid autacoids stimulate multi-organ metastasis and escape
from tumor dormancy. Based on this discovery, I was awarded my first RO1 funding to study EETs in
cancer and metastasis (Panigrahy et al. JCI 2012, 122(1):178-191, cited by Faculty of 1000 as one of the
top 2% of publications in biology and medicine). As part of the NCI’s Provocative Questions project, I
was awarded my second RO1 to study endogenous anti-inflammatory lipid autacoids such as resolvins
and their role in inflammation resolution in cancer. I am also funded by industry (e.g. Inception Sciences)
to study eicosanoid modulating drugs in experimental cancer models. I continue to play an active role in
bringing together the fields of bioactive lipids and vascular biology through the organization of meetings
and leading various bioactive lipid meetings.

Our laboratory’s 5 publications over the past year in various high-impact journals are a testament to our
laboratory leading the field of resolution of inflammation in cancer. Our publications include the following:
(1) Sulciner et al 2018 Resolvins suppress tumor growth and enhance cancer therapy Journal of
Experimental Medicine. 215:115-140. Featured with related Insight commentary in Journal of
Experimental Medicine: Resolving the dark side of therapy-driven cancer cell death. Voted by Faculty of
1000 as one of the top 2% of publications in biology and medicine. Featured in Science, EurekAlert,
Genetic Engineering & Biotechnology News, ecancernews, Medical News, MedIndia, Newswise, ALN
Magazine, Stat News, Health Medicine Network, Science Newsline, Medical News Today, El
Economista, BioCentury, MedPage Today, and Boston Globe; (2) Gartung A et al 2019. Suppression of
chemotherapy-induced cytokine/lipid mediator surge and ovarian cancer by a dual COX-2/sEH inhibitor.
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Research: Mitchell J, A daily dose; (4) Panigrahy et al 2019. Pre-operative stimulation of resolution and
inflammation blockade eradicates micrometastases. The Journal of Clinical Investigation. June 17:130;
2974-2979; Featured with Editor’s pick in July. Featured with related commentary in The Journal of
Clinical Investigation: Dampening the fire to prevent surgery- and chemotherapy-induced metastasis, and
Research Watch in Cancer Discovery and (5) Chang et al. Chemotherapy-generated cell debris
stimulates colon carcinoma tumor growth via osteopontin. The FASEB Journal 2019 33(1):114-125.

Our studies on the stimulation of resolution of inflammation in cancer are highly innovative and represent
a paradigm shift as a novel approach to the treatment of therapy-stimulated cancer with biological and
clinical importance. Over the past year, we showed that resolvins - compounds naturally produced in our
body to stop the inflammatory response - can stop tumors from growing when such growth is stimulated
by cellular debris generated by surgery or chemotherapy. Our studies show that traditional cancer
therapy may be a 'double-edged sword', wherein the very treatment used to cure cancer is also helping it
survive and grow. Overcoming the dilemma of debris-induced tumor progression is paramount if we are
to prevent tumor recurrence of treatment-resistant tumors, which is the major reason for cancer therapy
failure. The treatment with resolvins inhibited debris-stimulated tumor growth and blocked the cancer
cells from spreading. Additionally, resolvins boosted the activity of various anti-cancer therapies, making
them more effective in their fight against tumors. Enhancing the resolvin pathways provides an entirely
new, non-toxic, and non-immunosuppressive approach to cancer therapy. Resolvins are currently in
clinical trials for other chronic inflammatory diseases and we are aiming to translate them to cancer
patients, including children with brain tumors. Inflammation induced by front-line cancer therapies,
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including surgical resection, chemotherapy, and radiation, can paradoxically promote cancer progression
by impairing anti-tumor immunity. We explored the hypothesis that limiting inflammation or accelerating
its resolution in combination with other anti-cancer approaches can prevent therapy-stimulated tumor
progression and metastasis. Using metastasis-prone murine models of lung and breast cancer, we
showed that pre-operative treatment with the NSAID ketorolac substantially reduced surgically-stimulated
micrometastases by inhibiting platelet aggregation. Ketorolac’s effects were enhanced by
immunotherapy and mitigated by adjuvant chemotherapy. Moreover, combined pretreatment with
ketorolac and resolvins synergized to prevent both surgery- and chemotherapy-stimulated metastasis
and tumor recurrence. These findings support further investigation of inflammation-limiting and pro-
resolving strategies to block the adverse effects of standard cancer approaches.


Major Teaching Contributions: Over the past decade I have had the opportunity to both teach and
mentor medical students, graduate students and post-doctoral fellows. My training as a surgical resident
has been a critical component in the methodology I implemented, such as parabiosis, the unique surgical
model of joining the vascular systems of two animals of varying genetic phenotypes. The novelty of our
studies is demonstrated my trainess have been awarded 45 Awards since 2011.

Direction for the Future: I am committed to establishing myself as one of the international leaders in
understanding the role of lipid autacoids in cancer and other inflammation-associated diseases. My
future plans will be to continue to focus on the mechanism of resolvins and related lipid autacoids in
development and disease focusing on cancer. This work is ideally suited for translation into the clinic.




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